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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

                                                     Case No. 1:14-cv-1748
 IN RE: TESTOSTERONE REPLACEMENT
 THERAPY PRODCUTS LIABILITY                          MDL No. 2545
 LITIGATION
                                                     Hon. Matthew F. Kennelly
 This Document Relates to:

 Cases identified on Exhibits A & B


                     CASE MANAGEMENT ORDER NO. 110 –
                ORDER TO SHOW CAUSE PURSUANT TO CMO NO. 85

       This matter is before the Court on Defendant’s First Amended Notice for Entry of an Order

to Show Cause Pursuant to Case Management Order No. 85 (the “Motion”), filed on April 4, 2018.

On December 8, 2017, the Court entered Case Management Order No. 85, which provides, among

other things, that should any Plaintiff fail to timely serve an executed Plaintiff Profile Form

(“PPF”) or if a Defendant deems a PPF deficient, Defendants shall notify the Court of the alleged

delinquency or deficiency and the Court shall issue an Order to Show Cause Why the Case Should

Not Be Dismissed and/or Sanctions Ordered.


       It is hereby ordered that Plaintiffs identified on Exhibits A and B below shall have twenty-

one (21) days to respond to show good cause as to why the Court should not dismiss the Plaintiff’s

case with prejudice, or impose another appropriate sanction.


IT IS SO ORDERED.


Dated: 4/6/2018
                                                     __________________________________
                                                     MATTHEW K. KENNELLY
                                                     UNITED STATES DISTRICT JUDGE
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm               Defendants
Aaron, Damon          1:16-cv-01189 Pierce Skrabanek         AbbVie Defendants
                                      Bruera, PLLC           Endo Pharmaceuticals Inc.
                                                             Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Ackerson, Penny       1:16-cv-00945   Branch Law Firm;       Actavis Defendants
                                      Meyers & Flowers
                                      LLC
Adams, Brenda J.      1:16-cv-00902   Brent Coon &           AbbVie Defendants
Adams, Fred S. Jr.                    Associates
(Deceased)
Adams, Bryan          1:16-cv-00405   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Adams, Everett        1:15-cv-11404   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                      LLC                    Inc.
                                                             GlaxoSmithKline LLC
Adams, Robert R.      1:15-cv-09962   Discepolo LLP          Endo Pharmaceuticals Inc.
Agtmaal, Jerry        1:16-cv-10401   Forman Law Offices,    AbbVie Defendants
                                      P.A.
Ahmed, Syed           1:15-cv-06778   Douglas & London,      Auxilium Pharmaceuticals,
Ahmed and Syeda                       P.C.                   Inc.
Firdous Shakil
Ailes, Harlan         1:16-cv-03197   Baird Brown Law     Endo Pharmaceuticals Inc.
                                      Firm                Auxilium Pharmaceuticals,
                                                          Inc.
                                                          GlaxoSmithKline LLC
Aken, David and       1:16-cv-02664   The Snapka Law Firm AbbVie Defendants
Susanne                                                   Auxilium Pharmaceuticals,
                                                          Inc.
Alexander,            1:15-cv-05153   Branch Law Firm;    AbbVie Defendants
Frederick                             Meyers & Flowers,
                                      LLC
Alexander, Paul       1:14-cv-07620   Golomb & Honik,     AbbVie Defendants
                                      P.C.
Allison, Richard A.   1:15-cv-04739   O'Leary, Shelton,   AbbVie Defendants
                                      Corrigan, Peterson,
                                      Dalton & Quillin
Almond, Keith         1:15-cv-05298   Derriel McCorvey    AbbVie Defendants
                                      LLC                 Actavis Defendants
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                                         Exhibit A
                                  No Plaintiff Profile Form
    Plaintiff             Case No.        Opposing Firm              Defendants
Amato, Michael         1:16-cv-00834 Branch Law Firm;         AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Anderson , Milton      1:16-cv-01033 Douglas & London,        Auxilium Pharmaceuticals,
and Charlene                           P.C.                   Inc.
Argondizzo,            1:16-cv-00358   Brent Coon &           Auxilium Pharmaceuticals,
Michael F. and                         Associates;            Inc.
Diane                                  Morris Law Firm
Arline, Joe            1:14-cv-09139   Wagstaff & Cartmell,   AbbVie Defendants
                                       LLP
Armstrong,             1:16-cv-00118   Meyers & Flowers,      AbbVie Defendants
Anthony                                LLC
Asperheim, Aaron       1:16-cv-10172   Johnson Becker,        AbbVie Defendants
                                       PLLC
Atkins, Nelton         1:17-cv-00462   Carey Danis & Lowe     AbbVie Defendants
Aurecchia, Kenneth     1:14-cv-00772   Morelli Ratner Law     AbbVie Defendants
                                       Firm
Ayres, Luther          1:15-cv-05374   Sill Law Group,        AbbVie Defendants
                                       PLLC
Baggett, Dennie        1:16-cv-07404   Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Bailey, Lloyd          1:14-cv-08927   Locks Law Firm         AbbVie Defendants
Bailey, Michael        1:14-cv-01663   Morelli Ratner Law     AbbVie Defendants
                                       Firm
Baker, Terry Robert 1:16-cv-00786      Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Balsley, Jr., Ernest   1:15-cv-08661   Heard Robins Cloud     Actavis Defendants
                                       LLP
Banks, Lee E.          1:16-cv-03181   Baird Brown Law      Endo Pharmaceuticals Inc.
                                       Firm                 Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Bannister, Ivan        1:17-cv-01626   Reyes Browne Reilley AbbVie Defendants
Bansal, Vishal         1:16-cv-03250   Baird Brown Law      Endo Pharmaceuticals Inc.
                                       Firm                 Auxilium Pharmaceuticals,
                                                            Inc. GlaxoSmithKline LLC
Barba, Jr., Donald     1:15-cv-03874   Domengeaux, Wright,    AbbVie Defendants
                                       Roy, Edwards &
                                       Colomb, LLC
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                                       Exhibit A
                                No Plaintiff Profile Form
      Plaintiff         Case No.        Opposing Firm              Defendants
Barnes, Cathy        1:16-cv-00836 Branch Law Firm;         AbbVie Defendants
Barnes, Edward                       Meyers & Flowers,
(Deceased)                           LLC
Batie, Johnnie       1:15-cv-05308 Derriel McCorvey         AbbVie Defendants
                                     LLC
Beason, James L.     1:17-cv-00827 Plymale Law Firm         AbbVie Defendants
Bedford, Robert      1:16-cv-01607 Eisenberg,               AbbVie Defendants
                                     Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Bedwell, Gayle       1:16-cv-03068 The Mulligan Law         AbbVie Defendants
Bedwell, Roy                         Firm
(Deceased)
Bell, Jeff           1:16-cv-08554   Reyes Browne Reilley   AbbVie Defendants
Bell, Jerome         1:16-cv-01713   Eisenberg,             AbbVie Defendants
                                     Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Bell, Robert         1:16-cv-00339   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Benninger, Richard   1:15-cv-05920   Golomb & Honik,        AbbVie Defendants
A.                                   P.C.
Beren, Peter L.      1:15-cv-03036   Meshbesher &           AbbVie Defendants
                                     Spence, LTD
Bergener, Geoff      1:16-cv-00368   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Bergmayr, Timothy    1:15-cv-00867   Johnson Becker,        AbbVie Defendants
                                     PLLC
Bertini, John        1:16-cv-00624   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Betts, John          1:15-cv-08495   Kabateck Brown         Actavis Defendants
                                     Kellner LLP
Black , Keith        1:16-cv-00251   Meyers & Flowers,      AbbVie Defendants
                                     LLC                    Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Boddie, Gerald       1:14-cv-07924   Wendt Goss, P.C.;      AbbVie Defendants
                                     Shamber, Johnson &
                                     Bergman
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                                       Exhibit A
                                No Plaintiff Profile Form
      Plaintiff         Case No.        Opposing Firm              Defendants
Booher, Jolene       1:16-cv-00860 Branch Law Firm          AbbVie Defendants
Liste, Patrick
(Deceased)
Borgnis, Bernard A. 1:15-cv-02530    Johnson Becker,        AbbVie Defendants
                                     PLLC
Borough, James       1:16-cv-09646   Heard Robins Cloud     Actavis Defendants
                                     LLP
Bowers, Stephanie;   1:14-cv-09475   Eisenberg,             AbbVie Defendants
Bowers, Jerry                        Rothweiler, Winkler,
(deceased)                           Eisenberg & Jeck,
                                     P.C.
Bracetti Ayala, Jose 1:15-cv-07791   Vicente & Cuebas       AbbVie Defendants
A.
Bradshaw, Denise     1:16-cv-07891   Forman Law Offices,    AbbVie Defendants
Bradshaw, John                       P.A.
(Deceased)
Branson, Martin      1:16-cv-01778   Eisenberg,             AbbVie Defendants
Robert                               Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Breau, Marc          1:15-cv-09371   Lockridge Grindal      AbbVie Defendants
                                     Nauen
Breeden, David A.,   1:14-cv-09168   Johnson Becker,        Endo Pharmaceuticals Inc.
Sr.                                  PLLC
Brenner , William    1:16-cv-10325   Kabateck Brown         Endo Pharmaceuticals Inc.
                                     Kellner LLP
Brewer, Gertrude     1:16-cv-03076   The Mulligan Law       AbbVie Defendants
Brewer, Alonzo                       Firm
(Deceased)
Brock, Keith         1:16-cv-03099   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Brodale, Stephen     1:15-cv-07215   Wright & Schulte,      AbbVie Defendants
                                     LLC
Brooks, Roger E.     1:16-cv-11636   Meyers & Flowers,      Endo Pharmaceuticals Inc.
                                     LLC
Brown, Gregory A.    1:15-cv-07221   Wright & Schulte,      AbbVie Defendants
                                     LLC
Bryant, Anthony      1:16-cv-00602   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Bumgardner,          1:16-cv-06312   Eisenberg,             AbbVie Defendants
William                              Rothweiler, Winkler,
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                                       Exhibit A
                                No Plaintiff Profile Form
      Plaintiff          Case No.       Opposing Firm                  Defendants
                                     Eisenberg & Jeck,
                                     P.C.
Burkhart, Jay          1:15-cv-07374   Parker Waichman         AbbVie Defendants
                                       LLP
Burrell, Ronald        1:16-cv-03135   Baird Brown Law         AbbVie Defendants
                       1:15-cv-10770   Firm
Busacker, Alan         1:17-cv-00463   Carey Danis & Lowe      AbbVie Defendants
Caldwell, Ronnie       1:16-cv-00273   Branch Law Firm;        AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Calhoun, John          1:16-cv-03626   Eisenberg,              AbbVie Defendants
Michael                                Rothweiler, Winkler,
                                       Eisenberg & Jeck,
                                       P.C.
Camarra, Marc          1:15-cv-09224   Peterson & Associates   AbbVie Defendants
(Deceased)
Caraveo, Arthur        1:15-cv-11355   Branch Law Firm;        AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Carson, Grady          1:16-cv-03264   Baird Brown Law         AbbVie Defendants
                       1:15-cv-10770   Firm
Casper, John           1:16-cv-09778   Heard Robins Cloud      Actavis Defendants
                                       LLP
Castine, Michael       1:16-cv-03150   Baird Brown Law         AbbVie Defendants
                       1:15-cv-10770   Firm
Castro, Dan            1:15-cv-05025   DominaLaw Group         AbbVie Defendants
                                       PC
Castro, Francisco      1:16-cv-01626   Seeger Weiss LLP        AbbVie Defendants
                                                               Actavis Defendants
Catanese, III, Peter   1:15-cv-07494   The Lawrence Firm,      AbbVie Defendants
                                       PSC                     Auxilium Pharmaceuticals,
                                                               Inc.
Cearley, James         1:15-cv-10498   Eisenberg,              AbbVie Defendants
                                       Rothweiler, Winkler,
                                       Eisenberg & Jeck,
                                       P.C.
Centner, John          1:16-cv-00466   Branch Law Firm;        Actavis Defendants
                                       Meyers & Flowers
                                       LLC
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                                        Exhibit A
                                 No Plaintiff Profile Form
    Plaintiff            Case No.        Opposing Firm               Defendants
Chambers , Joel       1:16-cv-03079 The Mulligan Law         AbbVie Defendants
                                      Firm                   Auxilium Pharmaceuticals,
                                                             Inc.
Chandler, Danny       1:15-cv-08790   Law Offices of Tony    AbbVie Defendants
Carson                                Seaton, PLLC
Chastain, Barry       1:16-cv-00709   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Chatman, Ossie        1:16-cv-03246   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Chavez, William       1:14-cv-06583   Schachter Hendy &      AbbVie Defendants
                                      Johnson PSC;
                                      The Lyon Firm
Chetelat, Jerald      1:16-cv-01377   Seeger Weiss LLP       AbbVie Defendants
Childers, Rickie L.   1:16-cv-03119   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Clark, Kevin          1:15-cv-05665   Oliver Law Group       AbbVie Defendants
Clarno, Robin         1:16-cv-06315   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Cline, Guarld         1:16-cv-01535   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Cloud, Danny Fred     1:15-cv-04168   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Coker, Glenn          1:16-cv-03138   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Collins, Fronita on   1:15-cv-03539   Douglas & London,      Endo Pharmaceuticals Inc.
behalf of Stephen                     P.C.
(Deceased), Fronita
(Individually)
Constante, Joseph     1:16-cv-00607   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Corbin, Timothy       1:15-cv-00879   Seeger Weiss LLP       AbbVie Defendants
Cordell, Larry        1:16-cv-00158   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm              Defendants
Coston, Brian Gary   1:16-cv-01119 Branch Law Firm;         AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Cotten, John         1:16-cv-08499 Douglas & London,        AbbVie Defendants
                                     P.C.
Coulliette, Mary     1:15-cv-10473 Parker Waichman          AbbVie Defendants
Jane                                 LLP
Coulliette, Daniel
(Deceased)
Covert, Wesley       1:15-cv-08211   Discepolo LLP          AbbVie Defendants
Cozart, Spencer      1:16-cv-00478   Gray & White           AbbVie Defendants
Crabtree, Dale       1:16-cv-03268   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Cratty, Kenneth      1:17-cv-03821   Bahe Cook Cantley &    AbbVie Defendants
                                     Nefzger PLC
Crenshaw, Eugene     1:16-cv-03258   Baird Brown Law        AbbVie Defendants
L.                   1:15-cv-10770   Firm
Crouch, Steven       1:16-cv-00272   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Crowe, Ronald        1:16-cv-01401   Seeger Weiss LLP       AbbVie Defendants
Cruickshank,         1:17-cv-00971   Napoli Shkolnik        AbbVie Defendants
Shirley as Personal                  PLLC                   Endo Pharmaceuticals Inc.
Representative of                                           Auxilium Pharmaceuticals,
the Estate of                                               Inc.
Emerson, and                                                GlaxoSmithKline LLC
Shirley Individually
Crump, Conrad        1:16-cv-00274   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Cruse, David         1:15-cv-05868   Schachter Hendy &      AbbVie Defendants
                                     Johnson, PSC
Cruz, Alfredo        1:16-cv-07867   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Cunliffe, James      1:16-cv-03185   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Cunningham ,         1:15-cv-08336   The Yost Legal         Endo Pharmaceuticals Inc.
Charles D. and                       Group                  Auxilium Pharmaceuticals,
Sylvia J.                                                   Inc.
                                                            GlaxoSmithKline LLC
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                                    Exhibit A
                             No Plaintiff Profile Form
     Plaintiff       Case No.        Opposing Firm                   Defendants
Cunningham, Kevin 1:15-cv-00751 Robinson Calcagnie,           AbbVie Defendants
(Deceased)                        Inc.
Custer , Leroy    1:16-cv-03262 Baird Brown Law               Endo Pharmaceuticals Inc.
                                  Firm
Custer, LeRoy     1:16-cv-03262 Baird Brown Law               AbbVie Defendants
                  1:15-cv-10770 Firm
Daalling , Mirta, on   1:17-cv-03075   Douglas & London,      AbbVie Defendants
behalf of the estate                   P.C.                   Endo Pharmaceuticals Inc.
of John, and Mirta                                            Auxilium Pharmaceuticals,
individually                                                  Inc.
Daniel, James          1:16-cv-03225   Baird Brown Law        AbbVie Defendants
                       1:15-cv-10770   Firm
Daniel, Luther         1:15-cv-05157   Meyers & Flowers,      Endo Pharmaceuticals Inc.
                                       LLC                    Auxilium Pharmaceuticals,
                                                              Inc.
                                                              GlaxoSmithKline LLC
Danna, Johnnie         1:14-cv-07599   Burke Harvey;          AbbVie Defendants
                                       Shuttlesworth
                                       Lasseter
Darr, Clayton          1:15-cv-10946   Parker Waichman        AbbVie Defendants
                                       LLP
Davis, Benjamen C. 1:16-cv-03195       Baird Brown Law        AbbVie Defendants
                   1:15-cv-10770       Firm
Davis, Cary            1:15-cv-09842   Eisenberg,             AbbVie Defendants
                                       Rothweiler, Winkler,
                                       Eisenberg & Jeck,
                                       P.C.
Davis, Darlene;        1:15-cv-02381   Eisenberg,             AbbVie Defendants
Davis, Jonathan W.                     Rothweiler, Winkler,
(Deceased)                             Eisenberg & Jeck,
                                       P.C.
Davis, Deanna          1:16-cv-00952   Branch Law Firm;       AbbVie Defendants
Davis, Robert                          Meyers & Flowers,
Woodrow Jr.                            LLC
(Deceased)
Davis, Phillip         1:16-cv-03231   Baird Brown Law        AbbVie Defendants
                       1:15-cv-10770   Firm
Davis, Stewart         1:16-cv-03086   The Mulligan Law       AbbVie Defendants
                                       Firm
Deaton, John           1:16-cv-00652   Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Case: 1:14-cv-01748 Document #: 2434 Filed: 04/06/18 Page 10 of 47 PageID #:64518



                                        Exhibit A
                                 No Plaintiff Profile Form
      Plaintiff          Case No.        Opposing Firm               Defendants
DeBeau, Mary Lou,     1:17-cv-05522 Douglas & London,        Endo Pharmaceuticals Inc.
on behalf of the                      P.C.                   Auxilium Pharmaceuticals,
Estate of Bernard,                                           Inc.
and Mary Lou,
individually
DeCarlo , Michelle,   1:16-cv-03311   Ball & Bonholtzer;     Auxilium Pharmaceuticals,
on behalf of Drew                     Gancedo Law Firm       Inc.
Dehart, Larry G.      1:15-cv-06541   Wagstaff & Cartmell,   Endo Pharmaceuticals Inc.
                                      LLP                    Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Dematteo, Brian       1:14-cv-04547   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Deming, Charles       1:17-cv-00727   Justinian &            AbbVie Defendants
Ed                                    Associates PLLC        Endo Pharmaceuticals Inc.
                                                             Auxilium Pharmaceuticals,
                                                             Inc.
Denny, Richard        1:15-cv-09872   The Levensten Law      AbbVie Defendants
                                      Firm
Dews, Charles         1:16-cv-00905   Brent Coon &           Actavis Defendants
                                      Associates
Diani , Joseph C.     1:16-cv-07172   Plymale Law Firm       Endo Pharmaceuticals Inc.
Sr.                                                          Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Ditalia, John         1:16-cv-07894   Forman Law Offices,    AbbVie Defendants
                                      P.A.
Dodson, Clyde         1:16-cv-05087   Oliver Law Group       AbbVie Defendants
Dolly, Samuel         1:15-cv-06677   Morgan & Morgan        Endo Pharmaceuticals Inc.
Donaldson, Vickey     1:16-cv-07376   Branch Law Firm;       Actavis Defendants
                                      Meyers & Flowers
                                      LLC
Donati, Robert        1:15-cv-09688   Goldberg & Osborne     AbbVie Defendants
Donner, Richard       1:16-cv-06008   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Dooley, Thomas G.     1:15-cv-07222   Wright & Schulte,      AbbVie Defendants
and Sanora                            LLC                    Endo Pharmaceuticals Inc.
Dorsey, Thomas        1:16-cv-01817   Discepolo LLP          AbbVie Defendants
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm              Defendants
Douthit, Charles     1:15-cv-06538 Simmons Hanly            AbbVie Defendants
                                     Conroy LLC
Duffy, Gabriel       1:16-cv-03957 Seeger Weiss LLP         AbbVie Defendants
Dunbar, Robert       1:14-cv-03170 Levin Simes LLP          AbbVie Defendants
Duncan, Robert       1:16-cv-03177 Baird Brown Law          AbbVie Defendants
                     1:15-cv-10770 Firm
Dunham, Ralph        1:16-cv-00645   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Dunn , Kevin         1:16-cv-03307   Kebodeaux,             Auxilium Pharmaceuticals,
Wayne                                Hargroder &            Inc. GlaxoSmithKline LLC
                                     Alexander, LLP
Dunn, Kevin          1:16-cv-03307   Kebodeaux,             AbbVie Defendants
Wayne                                Hargroder &
                                     Alexander, LLP
Eagle, Robert        1:16-cv-03292   Baird Brown Law        Endo Pharmaceuticals Inc.
                                     Firm
Eccher, Phillip M.   1:16-cv-06196   Johnson Becker         Actavis Defendants
                                     PLLC
Eden, II, Steve      1:15-cv-11388   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Edgeworth, Joseph    1:16-cv-08744   Johnson Becker,        AbbVie Defendants
N                                    PLLC
Ellis, Rufus         1:16-cv-07385   Lopez McHugh, LLP      AbbVie Defendants
Elrod, Melvin        1:16-cv-00554   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Emery, Jack          1:16-cv-08052   Florin Roebig, P.A.    AbbVie Defendants
Eng, Alice (Gary     1:15-cv-11716   Meyers & Flowers,      Actavis Defendants
Eng)                                 LLC
Erickson, Walt       1:16-cv-05901   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Escobedo,            1:17-cv-01632   Reyes Browne Reilley   AbbVie Defendants
Raymond
Essman, Gregory      1:16-cv-03109   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Estes, Jeffrey       1:17-cv-03898   Bahe Cook Cantley &    AbbVie Defendants
                                     Nefzger PLC
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm              Defendants
Eubanks, Willone     1:17-cv-03822 Bahe Cook Cantley &      AbbVie Defendants
                                     Nefzger PLC
Evans, Larry         1:16-cv-00816 Branch Law Firm;         Actavis Defendants
                                     Meyers & Flowers
                                     LLC
Evans, Ricky         1:16-cv-01845 Robins Cloud LLP         AbbVie Defendants
Fagan, Julian        1:16-cv-00685 Branch Law Firm;         AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Farrar, Herbert      1:16-cv-07369 Branch Law Firm;         AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Farrell, Scott       1:15-cv-04258 McSweeney/Langevin       AbbVie Defendants
                                     LLC
Farrokhi, Jahan      1:16-cv-03226 Baird Brown Law          Endo Pharmaceuticals Inc.
                                     Firm                   Auxilium Pharmaceuticals,
                                                            Inc.
Farrokhi, Jahan      1:16-cv-03226   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Feliciano, Carlos    1:15-cv-05397   Sill Law Group,        AbbVie Defendants
                                     PLLC
Ferreira, David      1:16-cv-07898   Forman Law Offices,    AbbVie Defendants
                                     P.A.
Fleagle, Roger       1:16-cv-06056   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Flores, Bettyjane    1:15-cv-04018   Branch Law Firm;       AbbVie Defendants
Flores, Henry                        Meyers & Flowers,
(Deceased)                           LLC
Flowers, William     1:16-cv-01728   Eisenberg,             AbbVie Defendants
                                     Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Fluty, Warren        1:16-cv-00690   Branch Law Firm        AbbVie Defendants
                                                            Actavis Defendants
Fodor , John and     1:16-cv-11755   Pope McGlamry P.C.     Endo Pharmaceuticals Inc.
Virginia
Ford, Calvin         1:15-cv-07265   The Simon Law Firm     AbbVie Defendants
Berkley and Marian                                          Endo Pharmaceuticals Inc.
E.                                                          Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm               Defendants
Forestieri, Joseph   1:14-cv-10327 Robinson Calcagnie,      Auxilium Pharmaceuticals,
                                     Inc.                   Inc.
Fowler, Richard      1:14-cv-04438 Gray & White             AbbVie Defendants
Fowler, Steven       1:15-cv-01013 Golomb & Honik,          AbbVie Defendants
                                     P.C.
Francis, Robert A.   1:16-cv-01441 Brent Coon &             AbbVie Defendants
                                     Associates             Auxilium Pharmaceuticals,
                                                            Inc.
Franklin, Ronnie     1:15-cv-00769   Robinson Calcagnie,    AbbVie Defendants
                                     Inc.                   Auxilium Pharmaceuticals,
                                                            Inc.
Freels, Keith        1:16-cv-08509   O'Leary, Shelton,      AbbVie Defendants
                                     Corrigan, Peterson,
                                     Dalton & Quillin
Friedrich, Pedro     1:15-cv-11566   Kabateck Brown         Actavis Defendants
                                     Kellner LLP
Fullerton, William   1:14-cv-09611   Golomb & Honik,        AbbVie Defendants
                                     P.C.
Fullerton, William   1:16-cv-04968   Thornton Laaw Firm     AbbVie Defendants
J.                                   LLP
Gall, Gary           1:15-cv-01754   Sill Law Group,        AbbVie Defendants
                                     PLLC
Gallagher, Samuel    1:16-cv-01705   Eisenberg,             AbbVie Defendants
                                     Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Gay, Andrew          1:17-cv-00466   Carey Danis & Lowe     AbbVie Defendants
Gearhart, Richard    1:16-cv-06690   O'Leary, Shelton,      AbbVie Defendants
                                     Corrigan, Peterson,
                                     Dalton & Quillin
Geipe, Steve         1:16-cv-03189   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
German, John         1:16-cv-00282   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Gibbens, Michael     1:17-cv-03824   Bahe Cook Cantley &    AbbVie Defendants
                                     Nefzger PLC
Gibbs, James         1:16-cv-03128   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm               Defendants
Gibson, Paul Jr. and 1:15-cv-10945 Gray & White             AbbVie Defendants
Lori                                                        Endo Pharmaceuticals Inc.
                                                            Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Gibson, Todd         1:16-cv-00461   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Gilbert, Stanley     1:15-cv-05803   Meyers & Flowers,      AbbVie Defendants
                                     LLC
Giles, Bobby and     1:15-cv-05370   Sill Law Group,        Auxilium Pharmaceuticals,
Marsha                               PLLC                   Inc.
                                                            GlaxoSmithKline LLC
Girard, Pierre       1:15-cv-03311   Bartimus Frickleton    AbbVie Defendants
                                     Robertson & Goza,
                                     PC
Girourd, Jon         1:15-cv-09644   Provost Umphrey     AbbVie Defendants
                                     Law Firm
Godfrey, Lamont      1:15-cv-10220   McSweeney/Langevin AbbVie Defendants
and Paula                            LLC                 Endo Pharmaceuticals Inc.
                                                         Auxilium Pharmaceuticals,
                                                         Inc.
Gomez, Augusto       1:16-cv-02591   Robins Cloud LLP    AbbVie Defendants
Gonzales, Javier     1:16-cv-00473   Branch Law Firm;    AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Goodman, Clifford    1:16-cv-00117   Meyers & Flowers,   AbbVie Defendants
(Deceased?)                          LLC
Gordon, James        1:14-cv-01665   Morelli Ratner Law  AbbVie Defendants
                                     Firm
Gordon, Thomas       1:16-cv-05179   Branch Law Firm;    AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Gorss, Glenn         1:17-cv-03826   Bahe Cook Cantley & AbbVie Defendants
                                     Nefzger PLC
Gorzny , Bernard     1:16-cv-03090   The Mulligan Law    AbbVie Defendants
                                     Firm                Endo Pharmaceuticals Inc.
Granillo, Ernesto    1:16-cv-04716   Meyers & Flowers,      Endo Pharmaceuticals Inc.
                                     LLC
Gredzinski, Greg     1:15-cv-06900   Seeger Weiss LLP       AbbVie Defendants
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                                          Exhibit A
                                   No Plaintiff Profile Form
     Plaintiff             Case No.        Opposing Firm               Defendants
Greenlow, Jack          1:17-cv-04589 Douglas & London,        Endo Pharmaceuticals Inc.
                                        P.C.                   Auxilium Pharmaceuticals,
                                                               Inc.
Griffin, Allen          1:16-cv-        Baird Brown Law        AbbVie Defendants
                        032201:15-cv-   Firm
                        10770
Griffin, William        1:17-cv-03827   Bahe Cook Cantley &    AbbVie Defendants
                                        Nefzger PLC
Griffith, Jim C.        1:16-cv-03124   Baird Brown Law        Endo Pharmaceuticals Inc.
                                        Firm
Gryner, Sr., Jimmy      1:16-cv-07765   Branch Law Firm;       AbbVie Defendants
                                        Meyers & Flowers,
                                        LLC
Guerra, Juan            1:16-cv-00824   Branch Law Firm;       Actavis Defendants
                                        Meyers & Flowers
                                        LLC
Hadaway, David          1:15-cv-05381   Sill Law Group,        AbbVie Defendants
                                        PLLC
Hadley, Millicent       1:16-cv-00116   Meyers & Flowers,      Endo Pharmaceuticals Inc.
Hadley,                                 LLC                    Auxilium Pharmaceuticals,
Individually and as                                            Inc.
Special                                                        GlaxoSmithKline LLC
Administrator for
the Estate of Phillip
Hadley
Ham, William J.         1:16-cv-01410   Simmons Hanly          AbbVie Defendants
                                        Conroy LLC
Hansen, Robert          1:16-cv-05891   Branch Law Firm        AbbVie Defendants
                                                               Actavis Defendants
Hansmann, Frank         1:16-cv-01695   Eisenberg,             AbbVie Defendants
                                        Rothweiler, Winkler,
                                        Eisenberg & Jeck,
                                        P.C.
Harmon, II, Elmer       1:15-cv-10234   Law Offices of Tony    AbbVie Defendants
Grant                                   Seaton, PLLC
Harp, Douglas           1:16-cv-00175   Goldenberg Heller      AbbVie Defendants
Harp, Jerry Lee                         Antognoli & Rowland
(Deceased)                              P.C.
Harper, John David      1:15-cv-11158   Eisenberg,             AbbVie Defendants
                                        Rothweiler, Winkler,
                                        Eisenberg & Jeck,
                                        P.C.
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                                     Exhibit A
                              No Plaintiff Profile Form
      Plaintiff       Case No.        Opposing Firm               Defendants
Harr, Robert       1:16-cv-03235 Baird Brown Law           AbbVie Defendants
                   1:15-cv-10770 Firm
Harris, Carl       1:16-cv-00538    Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Harris, Harvey     1:15-cv-04506    Robinson Calcagnie,    AbbVie Defendants
                                    Inc.
Harris, Melvin     1:16-cv-00159    Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Harris, Ola        1:16-cv-00479    Gray & White           AbbVie Defendants
Harris, Theresa    1:16-cv-00496    Branch Law Firm;       AbbVie Defendants
Harris, Myron                       Meyers & Flowers,
(Deceased)                          LLC
Harrison, Kevin    1:16-cv-01773    Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Hartman, Robert    1:16-cv-01138    Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Hatton, Raymond    1:16-cv-03126    Baird Brown Law        AbbVie Defendants
                   1:15-cv-10770    Firm
Head, Everett T.   1:15-cv-06519    Johnson Becker,        AbbVie Defendants
                                    PLLC
Heard, Michael     1:15-cv-04618    Sanders Phillips       Endo Pharmaceuticals Inc.
                                    Grossman, LLC          Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Hedleston,         1:15-cv-09598    Provost & Umphrey      Actavis Defendants
Lawrence                            Law Firm, L.L.P.
Hegeman, Daniel    1:16-cv-03093    The Mulligan Law       AbbVie Defendants
                                    Firm
Hele, Douglas       1:15-cv-07589   The Lawrence Firm      Actavis Defendants
Henderson , Charlie 1:17-cv-03830   Bahe Cook Cantley &    AbbVie Defendants
                                    Nefzger PLC            Endo Pharmaceuticals Inc.
Hendrix, Herman    1:14-cv-04564    Seeger Weiss LLP       Auxilium Pharmaceuticals,
                                                           Inc.
Hensley, Billy     1:16-cv-03122    The Mulligan Law       AbbVie Defendants
                                    Firm
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm              Defendants
Herczeg, Leslie     1:15-cv-00926 O'Leary, Shelton,        AbbVie Defendants
                                    Corrigan, Peterson,
                                    Dalton & Quillin
Herman, James       1:16-cv-00994 Robins Cloud LLP         AbbVie Defendants
                                                           Actavis Defendants
Herring, James      1:15-cv-05241   O'Leary, Shelton,      AbbVie Defendants
                                    Corrigan, Peterson,
                                    Dalton & Quillin
Hester, Aaron       1:16-cv-03113   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Hill, Carl          1:16-cv-04759   Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Hines, Lonnie       1:16-cv-00186   Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Hines, Rex          1:16-cv-07899   Forman Law Offices,    AbbVie Defendants
                                    P.A.
Hoffman, Lee        1:15-cv-11325   Robinson Calcagnie,    AbbVie Defendants
                                    Inc.
Holley, Charles     1:15-cv-08887   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                    LLC                    Inc.
                                                           GlaxoSmithKline LLC
Hollis, Gregory     1:15-cv-11791   Robinson Calcagnie,    AbbVie Defendants
(Deceased)                          Inc.                   Actavis Defendants
Holmes, Marlin      1:15-cv-05310   Meyers & Flowers,      AbbVie Defendants
                                    LLC                    Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Horky, Sandor Jr.   1:15-cv-07445   The Lawrence Firm,     Auxilium Pharmaceuticals,
and Gail                            PSC                    Inc.
Horn, Kenneth       1:15-cv-04566   Fears Nachawati Law    AbbVie Defendants
                                    Firm                   Endo Pharmaceuticals Inc.
                                                           Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Hornsby, Derrick    1:16-cv-00511   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                    LLC                    Inc.
                                                           GlaxoSmithKline LLC
Howard, Rodney      1:15-cv-04089   Golomb & Honik,        AbbVie Defendants
                                    P.C.
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                                         Exhibit A
                                  No Plaintiff Profile Form
    Plaintiff             Case No.        Opposing Firm              Defendants
Hower, Randall         1:16-cv-03176 Baird Brown Law          AbbVie Defendants
                       1:15-cv-10770 Firm
Huebner, Bob           1:16-cv-00633   Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Hughes, Daniel A.      1:15-cv-02072   NastLaw, LLC           AbbVie Defendants
Hurst-Garnett,         1:16-cv-01652   Eisenberg,             AbbVie Defendants
Barbara                                Rothweiler, Winkler,
Garnett, Kenneth                       Eisenberg & Jeck,
Scott (Deceased)                       P.C.
Iglesias, Carlos and   1:15-cv-06327   The Lawrence Firm,    AbbVie Defendants
Kathleen                               PSC                   Auxilium Pharmaceuticals,
                                                             Inc.
Ingland, Terry         1:14-cv-10019   Davis & Crump, P.C. AbbVie Defendants
Isaacs, Richard        1:15-cv-08600   Peterson & Associates AbbVie Defendants
(Deceased)
Jackson, Karen         1:16-cv-03487   Douglas & London,      Endo Pharmaceuticals Inc.
Logan, on behalf of                    P.C.
the Estate of David
Jackson, and Karen
Logan, individually
Jackson, Leroy B.      1:16-cv-01656   Ashcraft & Gerel       AbbVie Defendants
James, Roy             1:16-cv-00672   Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Janiga, Jeffery        1:15-cv-11496   Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Jensen, Harvey         1:16-cv-01284   Seeger Weiss LLP       AbbVie Defendants
Jepson, Richard C.     1:16-cv-08319   Plymale Law Firm       AbbVie Defendants
Johnson, Barry         1:16-cv-03200   Baird Brown Law        AbbVie Defendants
                       1:15-cv-10770   Firm
Johnson, Earl          1:15-cv-11393   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                       LLC                    Inc.
                                                              GlaxoSmithKline LLC
Johnson, Ira           1:16-cv-00763   Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Johnson, Jack          1:14-cv-10305   Robinson Calcagnie,    AbbVie Defendants
(Deceased)                             Inc.                   Actavis Defendants
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm              Defendants
Johnson, Walter       1:16-cv-00421 Branch Law Firm;         AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Johnson, William      1:17-cv-04587 Seithel Law, LLC         AbbVie Defendants
Wade and Erin Ann                                            Endo Pharmaceuticals Inc.
                                                             Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Joplin, Jr., Robert   1:15-cv-05777   Johnson Becker         Actavis Defendants
Daniel                                PLLC
Jordan, Howard M.     1:16-cv-01321   Brent Coon &           AbbVie Defendants
                                      Associates
Joseph, Robert        1:16-cv-10455   Robinson Calcagnie,    AbbVie Defendants
                                      Inc.
Kearney, Richard      1:16-cv-03209   Baird Brown Law        Endo Pharmaceuticals Inc.
                                      Firm                   Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Keathley, Billy       1:16-cv-00480   Gray & White           AbbVie Defendants
Keister, Phillip      1:14-cv-05862   Golomb & Honik,        AbbVie Defendants
                                      P.C.
Kennedy, Ronnie       1:15-cv-03512   Verhine & Verhine,     AbbVie Defendants
                                      PLLC
Kent, John T          1:15-cv-09989   Goldberg & Osborne     AbbVie Defendants
Kidd, Judson C. Jr.   1:16-cv-01354   Aylstock, Witkin,      Endo Pharmaceuticals Inc.
                                      Kreis & Overholtz,     Auxilium Pharmaceuticals,
                                      PLLC                   Inc.
                                                             GlaxoSmithKline LLC
Kidder, Ray           1:16-cv-03198   Baird Brown Law        Endo Pharmaceuticals Inc.
                                      Firm                   Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Kidder, Raymond       1:16-cv-03198   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Kiger, Jesse          1:16-cv-00678   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
King, John            1:16-cv-03194   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Kirby, Harry          1:16-cv-01718   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff          Case No.       Opposing Firm               Defendants
                                    Eisenberg & Jeck,
                                    P.C.
Kirby, Michael        1:16-cv-01348   Robins Cloud LLP     AbbVie Defendants
Kizer, Steve          1:15-cv-10866   Sizemore Law FIrm    AbbVie Defendants
Klinedinst, Robert    1:15-cv-09909   Heard Robins Cloud   Endo Pharmaceuticals Inc.
                                      LLP
Kneeland, William     1:15-cv-09399   Goldberg & Osborne   Actavis Defendants
E.
Kolmar, Frank         1:16-cv-03149   The Mulligan Law     AbbVie Defendants
                                      Firm
Kovach, Steven        1:15-cv-05403   Sill Law Group,      AbbVie Defendants
                                      PLLC
Kruger, Kevin         1:14-cv-08420   Goldberg & Osborne   Actavis Defendants
La Rosa , James       1:16-cv-03155   Baird Brown Law      Endo Pharmaceuticals Inc.
                                      Firm
Lafayette, Daniel     1:16-cv-03263   Baird Brown Law      AbbVie Defendants
                      1:15-cv-10770   Firm
LaFortune,            1:16-cv-01184   Herman, Herman &     AbbVie Defendants
Anthony                               Katz
Lambert, Sr.,         1:16-cv-07622   Branch Law Firm;     AbbVie Defendants
Donnie                                Meyers & Flowers,
                                      LLC
Landry, George        1:15-cv-07113   The WestLaw Firm     AbbVie Defendants
Francis
Lane, Jerry           1:15-cv-11819   Branch Law Firm;     AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Lanzetta, Maria       1:16-cv-03107   Baird Brown Law      AbbVie Defendants
Lanzetta, Peter       1:15-cv-10770   Firm
(Deceased)
Lapenotiere, Arthur   1:16-cv-01834   Discepolo LLP        AbbVie Defendants
J.
Larson, William       1:16-cv-01752   Carey Danis & Lowe   AbbVie Defendants
Lasky, James and      1:15-cv-04419   Lundy, Lundy,        Endo Pharmaceuticals Inc.
Deanna                                Soileau & South,
                                      L.L.P.
Latham, Gary          1:16-cv-03165   Baird Brown Law      AbbVie Defendants
                      1:15-cv-10770   Firm
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                                      Exhibit A
                               No Plaintiff Profile Form
      Plaintiff        Case No.        Opposing Firm               Defendants
Latty, Stanley B.   1:15-cv-11875 Harris Penn Lowry        AbbVie Defendants
and Donna B.                        LLP                    Endo Pharmaceuticals Inc.
                                                           Auxilium Pharmaceuticals,
                                                           Inc.
                                                           Actavis Defendants
Law, Theodore       1:16-cv-01741   Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Lawfield, Derek     1:15-cv-10531   Dowd & Dowd, P.C.      AbbVie Defendants
Lawson, David       1:16-cv-03140   Baird Brown Law        Endo Pharmaceuticals Inc.
                                    Firm                   Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Lawson, David       1:16-cv-03140   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Lawson, Jeffrey     1:16-cv-04470   Goldberg & Osborne     Auxilium Pharmaceuticals,
                                                           Inc.
Lawson, Ronald S.   1:16-cv-03637   Fox and Farley         AbbVie Defendants
                                                           GlaxoSmithKline LLC

                                                           Note: complaint alleges use
                                                           of Testim, but Auxilium is
                                                           not named as a defendant.

Leard, Brian        1:17-cv-03897   Bahe Cook Cantley &    AbbVie Defendants
                                    Nefzger PLC
LeBaron , Matthew   1:16-cv-11162   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                    LLC                    Inc.
                                                           GlaxoSmithKline LLC
LeBlanc, Gordon     1:16-cv-05157   Bahe Cook Cantley &    Endo Pharmaceuticals Inc.
                                    Nefzger PLC            Auxilium Pharmaceuticals,
                                                           Inc.
Ledford, Ralph      1:14-cv-08579   Goldberg & Osborne     AbbVie Defendants
                                                           Actavis Defendants
Lemke , Chris and   1:17-cv-03426   Douglas & London,    Endo Pharmaceuticals Inc.
Roberta                             P.C.                 Auxilium Pharmaceuticals,
                                                         Inc.
Leonard, Larry      1:17-cv-07268   Reyes Browne Reilley AbbVie Defendants
Leschyshyn, Alan    1:17-cv-01778   Pro Se               AbbVie Defendants
M.
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm                Defendants
Leuck, Arthur         1:16-cv-03152 Baird Brown Law            AbbVie Defendants
                      1:15-cv-10770 Firm
Lewington, Aron       1:14-cv-06420   Alvarez, Winthrop,       Endo Pharmaceuticals Inc.
and Christine                         Thompson & Storey,
                                      P.A.
Lewis , Stella, on    1:17-cv-03282   Douglas & London,        Endo Pharmaceuticals Inc.
Behalf of JD Sr.                      P.C.                     Auxilium Pharmaceuticals,
and Stella                                                     Inc.
Individually
Lewis, Robert         1:15-cv-07412   The Lawrence Firm,       AbbVie Defendants
                                      PSC
Leyva, Felix          1:16-cv-10185   Bachus & Schanker,       AbbVie Defendants
                                      LLC
Licon, Daniel         1:14-cv-08602   Robinson Calcagnie,      Auxilium Pharmaceuticals,
                                      Inc.                     Inc.
Linn, Donald          1:14-cv-04527   Singleton Law Firm       AbbVie Defendants
Lippman, Richard      1:16-cv-09701   Goldberg & Osborne       AbbVie Defendants
Little, William J.    1:16-cv-03130   Baird Brown Law          AbbVie Defendants
                      1:15-cv-10770   Firm
Littlejohn, Carl W.   1:16-cv-01325   Brent Coon &             AbbVie Defendants
                                      Associates
Lively, David         1:16-cv-09520   Lopez McHugh, LLP        AbbVie Defendants
Llewellyn, Daniel     1:16-cv-01672   Seeger Weiss LLP         AbbVie Defendants
LoCoco, Santo         1:14-cv-04256   Gainsburgh,              AbbVie Defendants
                                      Benjamin, David,
                                      Meunier, &
                                      Warshauer, LLC
Locy, Larry           1:16-cv-00687   Branch Law Firm;         AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Loero, German         1:16-cv-07857   Branch Law Firm;         AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Long, David           1:16-cv-00670   Branch Law Firm;         AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Lonon, Karen          1:16-cv-02868   Kelley, Bernheim, &      AbbVie Defendants
Lonon, Melvin                         Dolinsky, LLC;
(Deceased)                            Keith, Miller, Butler,
                                      Schneider & Pawlik
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                                       Exhibit A
                                No Plaintiff Profile Form
    Plaintiff           Case No.        Opposing Firm              Defendants
Lowery, Richard      1:15-cv-04706 Robinson Calcagnie,      AbbVie Defendants
                                     Inc.
Loya, Paul           1:16-cv-00609 Branch Law Firm;         AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Ludwig, Josef        1:16-cv-00366 Branch Law Firm;         AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Lunger, Raymond      1:16-cv-01732 Eisenberg,               AbbVie Defendants
                                     Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Lydon, Ruth          1:16-cv-02170 Eisenberg,               AbbVie Defendants
Martinez                             Rothweiler, Winkler,
Martinez, Edward                     Eisenberg & Jeck,
(Deceased)                           P.C.
Lyon, David          1:14-cv-04046 Golomb & Honik;          AbbVie Defendants
                                     Myron Cherry
Lyon, Larry M.       1:15-cv-09441   Zoll & Kranz, LLC      AbbVie Defendants
(Deceased)
Lyons, Leamon and    1:14-cv-08430   Goldberg & Osborne     Auxilium Pharmaceuticals,
Judy                                                        Inc.
Madson, Larry S.     1:16-cv-01457   Brent Coon &           AbbVie Defendants
                                     Associates             Auxilium Pharmaceuticals,
                                                            Inc.
Malek, Louis         1:17-cv-03832   Bahe Cook Cantley &    AbbVie Defendants
                                     Nefzger PLC
Malusky, John      1:15-cv-10315     Locks Law Firm         AbbVie Defendants
Manning, Martin A. 1:16-cv-03253     Baird Brown Law        Endo Pharmaceuticals Inc.
                                     Firm                   Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Manzi, Kenneth       1:16-cv-03184   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Marando, Joseph      1:15-cv-09428   Goldberg & Osborne     AbbVie Defendants
Marcantel, Ken       1:16-cv-01797   Heard Robins Cloud     Actavis Defendants
                                     LLP
Maresh, Larry J.     1:16-cv-01327   Brent Coon &           AbbVie Defendants
                                     Associates
Marino, Stephen A.   1:14-cv-00777   Morelli Ratner Law     AbbVie Defendants
                                     Firm
Martin, Michael      1:16-cv-01247   Seeger Weiss LLP       AbbVie Defendants
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm               Defendants
Martin, Roy          1:15-cv-03045 Levin Simes LLP          Endo Pharmaceuticals Inc.
                                                            Auxilium Pharmaceuticals,
                                                            Inc.
Martinez, Luis       1:16-cv-01243   Seeger Weiss LLP       Actavis Defendants
Martinez, Raymond    1:16-cv-01236   Seeger Weiss LLP       Endo Pharmaceuticals Inc.
                                                            Auxilium Pharmaceuticals,
                                                            Inc.
Martino, Carrie B.   1:16-cv-00933   Branch Law Firm        Actavis Defendants
Mashburn, Patricia   1:16-cv-03098   Baird Brown Law        AbbVie Defendants
Mashburn, William    1:15-cv-10770   Firm
H. (Deceased)
Massey, Ronald       1:15-cv-03106   Stueve Siegel Hanson   AbbVie Defendants
                                     LLP
Massio, Damon        1:16-cv-03212   Baird Brown Law        Endo Pharmaceuticals Inc.
                                     Firm                   Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Masters, Michael     1:16-cv-01055   Douglas & London,      Auxilium Pharmaceuticals,
                                     P.C.                   Inc.
Matthews, Konrad     1:16-cv-03136   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
McCabe, Jay S.       1:15-cv-11105   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
McCabe, Joseph F.    1:16-cv-02369   Justinian PLLC         AbbVie Defendants
McCabe, Shane        1:15-cv-09443   Goldberg & Osborne     AbbVie Defendants
McCalman,            1:15-cv-00940   Kabateck Brown         AbbVie Defendants
Michael                              Kellner LLP
McCarty, Danny       1:15-cv-05400   Sill Law Group,        AbbVie Defendants
                                     PLLC
McConnell, Ruby      1:15-cv-07109   The WestLaw Firm       AbbVie Defendants
McCullough,          1:15-cv-03823   Gainsburgh,            Endo Pharmaceuticals Inc.
Robert, Jr.                          Benjamin, David,       Auxilium Pharmaceuticals,
                                     Meunier, &             Inc.
                                     Warshauer, LLC         GlaxoSmithKline LLC
McDaniel, Charles    1:16-cv-11611   Padberg Corrigan &     AbbVie Defendants
(Deceased)                           Appelbaum
McGovern, James      1:16-cv-05537   Goldberg & Osborne     AbbVie Defendants
L.
McLean, J. Miles     1:16-cv-03296   Baird Brown Law        AbbVie Defendants
                     1:16-cv-01225   Firm
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                                        Exhibit A
                                 No Plaintiff Profile Form
    Plaintiff            Case No.        Opposing Firm               Defendants
Meaders, Mark A.      1:15-cv-06582 Wagstaff & Cartmell,     Auxilium Pharmaceuticals,
                                      LLP                    Inc.
                                                             GlaxoSmithKline LLC
Meitner, Gerald and   1:14-cv-08134   Goldberg & Osborne     Endo Pharmaceuticals Inc.
Charlotte
Mendelson, Alan       1:15-cv-01309   Oliver Law Group       AbbVie Defendants
Mendez, Ramona        1:16-cv-00907   Branch Law Firm;       AbbVie Defendants
Mendez, Luis                          Meyers & Flowers,
(Deceased)                            LLC
Merems, Norman        1:17-cv-05681   Romanucci &            AbbVie Defendants
                                      Blandin, LLC
Merry, Randall D.     1:16-cv-03221   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Messina, Eric         1:16-cv-03232   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Meyer, Albert         1:17-cv-01666   Reyes, Browne,         Actavis Defendants
                                      Reilley
Meyer, Joseph         1:16-cv-01601   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Micalizzi, Sam        1:14-cv-09552   Douglas & London,      Auxilium Pharmaceuticals,
                                      P.C.                   Inc.
Michalski, Mark       1:17-cv-02030   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Milinichik, Michael   1:17-cv-00667   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Miller, Garry         1:16-cv-05586   Levin Simes LLP        AbbVie Defendants
Miller, Homer         1:16-cv-00344   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Miller, Kevin         1:16-cv-00996   Meyers & Flowers,      Endo Pharmaceuticals Inc.
                                      LLC
Miller, Phillip       1:16-cv-00276   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm              Defendants
Miller, William     1:17-cv-00755 Eisenberg,               AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Million, James      1:17-cv-01188 JP Gorham Attorney       AbbVie Defendants
                                    at Law, LLC
Mills, Jim          1:16-cv-03145 Baird Brown Law          Endo Pharmaceuticals Inc.
                                    Firm
Mitchell, Dion      1:16-cv-05168 Branch Law Firm;         AbbVie Defendants
Keith                               Meyers & Flowers,
                                    LLC
Mitchell, Jesse     1:14-cv-09178 Goldberg & Osborne       AbbVie Defendants
Mock , Frederick    1:16-cv-05170 Meyers & Flowers,        AbbVie Defendants
                                    LLC                    Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Mohlman, Paul       1:16-cv-03158   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Monaghan, Terence   1:16-cv-01214   Seeger Weiss LLP     AbbVie Defendants
                                                         Endo Pharmaceuticals Inc.
                                                         Auxilium Pharmaceuticals,
                                                         Inc.
Montgomery,         1:17-cv-01667   Reyes Browne Reilley AbbVie Defendants
David
Moody, Henry        1:16-cv-03277   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Moore, Charles      1:16-cv-00467   Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Moore, Rhonda       1:14-cv-08057   Meyers & Flowers,      Auxilium Pharmaceuticals,
Moore, as Special                   LLC                    Inc.
Administrator of
the Estate of
Edward Moore,
deceased
Moore, Ronald       1:15-cv-04568   Fears Nachawati Law    AbbVie Defendants
                                    Firm
Moran, Jerry        1:16-cv-06055   Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
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                                     Exhibit A
                              No Plaintiff Profile Form
     Plaintiff        Case No.        Opposing Firm                Defendants
Mortimer , Steve   1:16-cv-10403 Forman Law Offices,       Endo Pharmaceuticals Inc.
                                   P.A.                    Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Moskowitz, Marc R 1:15-cv-05042     Dell and Dean PLLC     AbbVie Defendants
Motylinski, Stephen 1:15-cv-07763   Golomb & Honik,        AbbVie Defendants
Motylinski,                         P.C.
Kenneth
(Deceased)
Muldoon, James      1:16-cv-03630   Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Murphy, Daniel     1:16-cv-00542    Branch Law Firm        AbbVie Defendants
Murray, Jack       1:14-cv-08742    Simmons Hanly          AbbVie Defendants
                                    Conroy LLC
Narula, Sushma     1:17-cv-07522    Plymale Law Firm       AbbVie Defendants
Narula, Jagdish
(Deceased)
Navarro, Ralph     1:15-cv-11356    Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Neece, William     1:17-cv-03837    Bahe Cook Cantley &    AbbVie Defendants
                                    Nefzger PLC
Nelson, Russell    1:15-cv-05216    Robins Cloud LLP       AbbVie Defendants
Nester, Doran      1:16-cv-01734    Eisenberg,             AbbVie Defendants
Edward                              Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Newbury, Clyde     1:15-cv-04004    Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Newman, Stephen    1:16-cv-01613    Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Newsome, Roger     1:16-cv-01690    Seeger Weiss LLP       AbbVie Defendants
Niffen, Charles    1:16-cv-03208    Law Offices of Baird   Actavis Defendants
                                    Brown, PC
Niffen, Charles    1:16-cv-03208    Baird Brown Law        AbbVie Defendants
                   1:15-cv-10770    Firm
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm              Defendants
Nolan, Patrick      1:16-cv-07900 Forman Law Offices,      AbbVie Defendants
                                    P.A.
Nolte, Robert       1:14-cv-08135 Goldberg & Osborne       AbbVie Defendants
Nusbaum, Robert     1:16-cv-03299 Baird Brown Law          AbbVie Defendants
T.                  1:16-cv-01225 Firm
Olliges, Terry      1:16-cv-00334   Branch Law Firm        Actavis Defendants
Olson, Shad         1:14-cv-10304   Herman, Herman &       AbbVie Defendants
                                    Katz
Olszowy,            1:16-cv-03252   Baird Brown Law        AbbVie Defendants
Christopher         1:15-cv-10770   Firm
Opala, Tim          1:16-cv-03266   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Orms, Bob           1:16-cv-03137   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
ORourke ,           1:16-cv-03265   Baird Brown Law        Endo Pharmaceuticals Inc.
Christopher                         Firm                   Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
ORourke,            1:16-cv-03265   Baird Brown Law        AbbVie Defendants
Christopher         1:15-cv-10770   Firm
Overstreet, Jerry   1:16-cv-03238   Baird Brown Law        Endo Pharmaceuticals Inc.
                                    Firm                   Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Owens, Bruce        1:16-cv-04407   Law Offices of         AbbVie Defendants
                                    Nicholas Koluncich
                                    III, LLC
Pagano, Anthony     1:16-cv-08053   Florin Roebig, P.A.    AbbVie Defendants
Paige, Fred         1:15-cv-03567   Dell and Dean PLLC     AbbVie Defendants
Palmore, Ronelda,   1:15-cv-00953   Foote, Mielke,         Auxilium Pharmaceuticals,
as Surviving                        Chavez & O’Neil,       Inc.
Spouse and on                       LLC
behalf of Edward
Palmore, Deceased
Parkhurst, II,      1:16-cv-00674   Branch Law Firm;       AbbVie Defendants
Russell O.                          Meyers & Flowers,
                                    LLC
Parks, Jennifer     1:16-cv-00904   Branch Law Firm;       AbbVie Defendants
Parks, Glenn                        Meyers & Flowers,
(Deceased)                          LLC
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                                        Exhibit A
                                 No Plaintiff Profile Form
      Plaintiff          Case No.        Opposing Firm              Defendants
Parrish, Joann        1:16-cv-02206 The Yost Legal           AbbVie Defendants
Parrish, Walter Jr.                   Group
(Deceased)
Passmore, Garry       1:16-cv-03202   The Mulligan Law       AbbVie Defendants
                                      Firm
Patrick, John         1:15-cv-00845   Dworken & Bernstein    Auxilium Pharmaceuticals,
                                      Co., LPA               Inc.
Patterson, Kenneth    1:16-cv-01312   Brent Coon &           AbbVie Defendants
H.                                    Associates
Patton, Gregory       1:15-cv-11763   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Paul, Louis           1:16-cv-01622   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Payne, Larry          1:14-cv-04973   Robinson Calcagnie,    AbbVie Defendants
                                      Inc.
Peach, Rodney J.      1:16-cv-01677   Goldberg & Osborne     AbbVie Defendants
Peck , Alleen Peck,   1:15-cv-10700   Douglas & London,      Auxilium Pharmaceuticals,
as administrator of                   P.C.                   Inc.
the Estate of Gary
Peck, deceased, and
Alleen Peck
individually
Peransi, Juan         1:17-cv-02281   Robinson Calcagnie,    AbbVie Defendants
                                      Inc.
Perez, Juan B.        1:16-cv-01682   Brent Coon &           AbbVie Defendants
                                      Associates
Perkins, George       1:15-cv-09460   Goldberg & Osborne     Auxilium Pharmaceuticals,
and Sandra                                                   Inc.
Petersen , Mark       1:16-cv-04909   Meyers & Flowers,      AbbVie Defendants
                                      LLC                    Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Phillips , Charles    1:16-cv-03468   Schachter Hendy &      Auxilium Pharmaceuticals,
and Earline                           Johnson, PSC           Inc.
Phillips, Ernie       1:14-cv-08445   Goldberg & Osborne     AbbVie Defendants
Phillips, Robert      1:14-cv-09934   Morris Bart, LLC       AbbVie Defendants
Pike, Wayne           1:15-cv-04582   Fears Nachawati Law    AbbVie Defendants
                                      Firm                   Actavis Defendants
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm              Defendants
Pladna, David         1:15-cv-09681 Provost Umphrey          AbbVie Defendants
                                      Law Firm
Plenty-Walls, Ruth    1:16-cv-02987 The Yost Legal           AbbVie Defendants
Plenty-Walls, Larry                   Group
(Deceased)
Podeszwik, Jeffrey    1:16-cv-03170   Baird Brown Law        AbbVie Defendants
A.                                    Firm                   Endo Pharmaceuticals Inc.
                                                             Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
                                                             Actavis Defendants
Popp, Eileen          1:17-cv-03838   Bahe Cook Cantley &    AbbVie Defendants
Popp, Kenneth                         Nefzger PLC
(Deceased)
Porter , Ted          1:17-cv-03840   Bahe Cook Cantley &    Endo Pharmaceuticals Inc.
                                      Nefzger PLC
Posey, Jonathan       1:16-cv-01785   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Powell, J. Robin      1:15-cv-06890   Seeger Weiss LLP       AbbVie Defendants
Pressley, Michael     1:15-cv-06873   Johnson Becker,        AbbVie Defendants
                                      PLLC
Price, Clifford       1:15-cv-00632   Seeger Weiss LLP       AbbVie Defendants
Price, Odis           1:14-cv-09141   Locks Law Firm         AbbVie Defendants
Prinkey , Terrell     1:16-cv-02973   Heard Robins Cloud     Endo Pharmaceuticals Inc.
                                      LLP                    Auxilium Pharmaceuticals,
                                                             Inc.
Propes, Edward        1:16-cv-00828   Branch Law             Actavis Defendants
                                      Firm/Meyers &
                                      Flowers, LLC
Pruett, David         1:16-cv-05165   Bahe Cook Cantley &    AbbVie Defendants
                                      Nefzger PLC
Pruitt, Michael       1:15-cv-07569   The Lawrence Firm,     AbbVie Defendants
                                      PSC
Pugh, Sr., Theodore 1:16-cv-11508     The Cochran Firm-      Actavis Defendants
                                      Dothan, PC
Quesada, Alfred       1:16-cv-03172   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Rabe, Cris            1:16-cv-03211   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm              Defendants
Rader, William J.     1:16-cv-03227 Baird Brown Law          AbbVie Defendants
                      1:15-cv-10770 Firm
Ragis, Eric           1:14-cv-07551   Golomb & Honik,        AbbVie Defendants
                                      P.C.
Ramie, Edmond         1:17-cv-05629   Douglas & London,      Endo Pharmaceuticals Inc.
and Anne                              P.C.                   Auxilium Pharmaceuticals,
                                                             Inc.
Ramos, Martin         1:15-cv-06330   Justinian PLLC         AbbVie Defendants
Ramsey, Daniel        1:16-cv-07628   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Randall, John         1:17-cv-03873   Bahe Cook Cantley &    AbbVie Defendants Actavis
                                      Nefzger PLC            Defendants
Rankin, Ralph         1:15-cv-11576   Kabateck Brown         Actavis Defendants
                                      Kellner LLP
Rawlings, Ronald      1:16-cv-06318   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Ray, Christopher R.   1:16-cv-01683   Brent Coon &           AbbVie Defendants
                                      Associates
Ray, Vollie           1:16-cv-00426   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Reardon, Robert E.    1:16-cv-03251   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Redding, Casey and 1:15-cv-09550      Andrus Wagstaff, PC    Auxilium Pharmaceuticals,
Lynn                                                         Inc.
                                                             GlaxoSmithKline LLC
Redding, Larry        1:16-cv-07584   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Redic, Don            1:16-cv-03139   Baird Brown Law        Endo Pharmaceuticals Inc.
                                      Firm
Reed, Bruce L.        1:16-cv-03174   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Reed, Darryl          1:16-cv-00732   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
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                                       Exhibit A
                                No Plaintiff Profile Form
      Plaintiff         Case No.        Opposing Firm               Defendants
Reid, Barbara        1:16-cv-03104 Baird Brown Law           AbbVie Defendants
Wood, Richard L.     1:15-cv-10770 Firm
(Deceased)
Reinsel, James       1:16-cv-00089   Meyers & Flowers,       Endo Pharmaceuticals Inc.
                                     LLC                     Auxilium Pharmaceuticals,
                                                             Inc.
Reliford, Ronald     1:15-cv-11336   Robinson Calcagnie,     AbbVie Defendants
(Deceased)                           Inc.
Rex, Patrick         1:16-cv-01090   Brian J. Perkins,       Actavis Defendants
                                     Meyers & Flowers,
                                     LLC
Reynolds , Leslie    1:16-cv-01791   MacDonald               AbbVie Defendants
                                     Rothweiler Eisenberg,   Endo Pharmaceuticals Inc.
                                     LLP                     Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Rieder, William W.   1:16-cv-10079   Goldberg & Osborne      AbbVie Defendants
Rife, Danny          1:16-cv-00431   Meyers & Flowers,       Auxilium Pharmaceuticals,
                                     LLC                     Inc.
                                                             GlaxoSmithKline LLC
Riley, Lionel        1:14-cv-10306   Aylstock, Witkin,       AbbVie Defendants
                                     Kreis & Overholtz,
                                     PLLC
Rivera, John E       1:16-cv-06440   Suthers Law Firm        AbbVie Defendants
Roberto, Armando     1:15-cv-07085   Rilee & Associates,     AbbVie Defendants
J                                    P.L.L.C.
Roberts, Michael     1:15-cv-11788   Branch Law Firm;        AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Robinson, Angelina   1:16-cv-02655   Schachter Hendy &       AbbVie Defendants
Tolley, Ronald                       Johnson, PSC
(Deceased)
Rocco, Dominic       1:15-cv-05842   Douglas & London,       Auxilium Pharmaceuticals,
                                     P.C.                    Inc.
Rocco, Phillip       1:16-cv-00710   Branch Law Firm;        AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Rodriguez,           1:16-cv-06919   Seeger Weiss LLP        AbbVie Defendants
Reynaldo                                                     Actavis Defendants
Rohrig, Donald       1:16-cv-03233   Baird Brown Law         AbbVie Defendants
                     1:15-cv-10770   Firm
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm              Defendants
Rojas, John Carlos    1:16-cv-00452 Branch Law Firm;         AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Ross, Daniel          1:16-cv-01758 Eisenberg,               AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Ross, Richard C.      1:16-cv-11267 Dell and Dean PLLC       AbbVie Defendants
Rossi, Richard, as    1:16-cv-10405 Forman Law Offices,      AbbVie Defendants
Personal                              P.A.                   Endo Pharmaceuticals Inc.
Representative of                                            Auxilium Pharmaceuticals,
the Estate of                                                Inc.
Angelo, III                                                  GlaxoSmithKline LLC
Rusch, Ronald         1:16-cv-03228   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Russell, Bernard      1:16-cv-00604   Pro Se Plaintiff       Actavis Defendants
Russell, Daniel       1:17-cv-03884   Bahe Cook Cantley &    AbbVie Defendants
                                      Nefzger PLC
Rutledge, Mark        1:16-cv-01787   Eisenberg,             AbbVie Defendants
                                      Rothweiler, Winkler,
                                      Eisenberg & Jeck,
                                      P.C.
Ryan , James          1:17-cv-00711   Meyers & Flowers,      Endo Pharmaceuticals Inc.
                                      LLC                    Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Ryan, Carolyn         1:15-cv-11833   Robinson Calcagnie,    AbbVie Defendants
Ryan, Paul                            Inc.
(Deceased)
Saintsing, Rhondell   1:15-cv-00633   Seeger Weiss LLP       AbbVie Defendants
Salazar, Abel         1:15-cv-09859   Goldberg & Osborne     AbbVie Defendants
Salters, Darron       1:17-cv-00467   Carey Danis & Lowe     AbbVie Defendants
Sanders, Jerry        1:16-cv-07682   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                      LLC                    Inc.
                                                             GlaxoSmithKline LLC
Sanders, Loyd         1:15-cv-05319   Harris Penn Lowry      AbbVie Defendants
                                      LLP                    Endo Pharmaceuticals Inc.
                                                             Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Saucedo, Herbierto    1:17-cv-03283   Douglas & London,      AbbVie Defendants
                                      P.C.
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm               Defendants
Saunders, Dustin     1:16-cv-02657 Bachus & Schanker,        AbbVie Defendants
                                     LLC
Saxon, Paul          1:15-cv-07423 The Lawrence Firm,        AbbVie Defendants
                                     PSC
Schlaffer, Charles   1:16-cv-03111 Baird Brown Law           AbbVie Defendants
                     1:15-cv-10770 Firm
Schleininger,        1:15-cv-04805   Brian J. Klopfenstein   Endo Pharmaceuticals Inc.
Dennis and Amy                                               Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Schuur, Jeffrey      1:14-cv-05568   Golomb & Honik          AbbVie Defendants
                                                             Actavis Defendants
Schwartz, Henry      1:16-cv-02703   The Yost Legal          AbbVie Defendants
                                     Group
Sciretta, Ronald     1:16-cv-00707   Branch Law Firm;        AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Scott, Alfred P.     1:16-cv-04283   O'Leary, Shelton,       AbbVie Defendants
                                     Corrigan, Peterson,
                                     Dalton & Quillin
Scott, Cynthia Scott 1:15-cv-09636   Meyers & Flowers,       AbbVie Defendants
Individually and as                  LLC                     Auxilium Pharmaceuticals,
Special                                                      Inc.
Administrator for                                            GlaxoSmithKline LLC
the Estate of
Ronald Scott,
deceased
Scott, Loretta M.    1:15-cv-09467   Goldberg & Osborne      AbbVie Defendants
Scott, Stephen
(Deceased)
Scott, William E.    1:15-cv-01033   Kaiser Gornick LLP      AbbVie Defendants
                                                             Actavis Defendants
Scott, William T.    1:14-cv-10443   Schlichter Bogard & AbbVie Defendants
                                     Denton
Sebor, Peter         1:17-cv-03895   Bahe Cook Cantley & AbbVie Defendants
                                     Nefzger PLC
Sellars, Edie        1:15-cv-11000   Buxbaum Daue PLLC AbbVie Defendants
Sellars, Robert L.
(Deceased)
Serrano, Steven      1:15-cv-02842   Branch Law Firm;        AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm               Defendants
Sewell, Dennis      16cv00729       Branch Law Firm;       Actavis Defendants
                                    Meyers & Flowers
                                    LLC
Shames, Rhoda       1:16-cv-00845 Branch Law Firm;         AbbVie Defendants
Shames, Norman                      Meyers & Flowers,
(Deceased)                          LLC
Sharkey, Jr.,       1:17-cv-03901 Bahe Cook Cantley &      AbbVie Defendants
Eugene                              Nefzger PLC
Shelton, Anthony    1:15-cv-03172 Golomb & Honik,          AbbVie Defendants
                                    P.C.
Shelton, Barry      1:15-cv-09473 Goldberg & Osborne       AbbVie Defendants
Shibley, Valloyd    1:16-cv-03134 Baird Brown Law          AbbVie Defendants
                    1:15-cv-10770 Firm
Shinn, Billy R.     1:16-cv-01686   Brent Coon &           AbbVie Defendants
                                    Associates
Shubert, Scott      1:16-cv-00468   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                    LLC                    Inc.
                                                           GlaxoSmithKline LLC
Shultz, Jay         1:16-cv-03223   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Shumake, Maxwell    1:15-cv-00819   Mekel S. Alvarez,      Actavis Defendants
                                    Morris Bart, LLC
Siemons, Peter      1:16-cv-00657   Branch Law Firm        Actavis Defendants
Simner, Bruce       1:17-cv-03902   Bahe Cook Cantley &    AbbVie Defendants
                                    Nefzger PLC
Simpson, William    1:15-cv-00965   Heard Robins Cloud     Auxilium Pharmaceuticals,
                                    LLP                    Inc.
                                                           GlaxoSmithKline LLC
Sims, Sunday        1:16-cv-01144   Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Singer, Bruce       1:15-cv-11542   Seeger Weiss LLP       AbbVie Defendants
Sisneros, Johnny    1:15-cv-07432   Stephen H. Echsner,    Actavis Defendants
                                    Aylstock, Witking,
                                    Kreis & Overholtz
Sistrunk, Malcolm   1:16-cv-00336   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                    LLC                    Inc.
                                                           GlaxoSmithKline LLC
Sligh, Franklin     1:16-cv-00418   Harris Penn Lowry      Endo Pharmaceuticals Inc.
                                    LLP                    Auxilium Pharmaceuticals,
                                                           Inc.
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm              Defendants
Smith, Albert W.    1:16-cv-03116 Baird Brown Law          AbbVie Defendants
                    1:15-cv-10770 Firm
Smith, Chester      1:17-cv-02400   Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Smith, Glenn        1:17-cv-06898   Maher Law Firm         AbbVie Defendants
Smith, James T      1:15-cv-09395   Johnson Becker,        AbbVie Defendants
                                    PLLC
Smith, Jeffrey A.   1:15-cv-02827   Goldberg & Osborne     AbbVie Defendants
Smith, Jimmy        1:16-cv-01178   Seeger Weiss LLP       AbbVie Defendants
Smith, Joseph       1:16-cv-01762   Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Smith, Michael P    1:16-cv-01691   Brent Coon &           AbbVie Defendants
                                    Associates
Smith, Michael R.   1:15-cv-04905   Golomb & Honik,        AbbVie Defendants
                                    P.C.
Smith, Roy          1:16-cv-03284   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Smith, Todd         1:16-cv-01177   Seeger Weiss LLP       AbbVie Defendants
Smith, Wayne        1:14-cv-09327   Morris Bart, LLC       Auxilium Pharmaceuticals,
                                                           Inc.
Smith, William H.   1:16-cv-03118   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Smook, Mark         1:17-cv-07111   Douglas & London,      AbbVie Defendants
                                    P.C.
Snyder, Norman      1:15-cv-11352   morris Bart, LLC       Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Sorrell, Kenneth    1:16-cv-00266   Meyers & Flowers,      Auxilium Pharmaceuticals,
                                    LLC                    Inc.
                                                           GlaxoSmithKline LLC
Sorrells, Billy     1:16-cv-03230   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Soto, Manuel        1:15-cv-06041   Ross Feller Casey      AbbVie Defendants
Spaulding, Archie   1:15-cv-09542   Seeger Weiss LLP       AbbVie Defendants
Spears, Lamont K.   1:16-cv-03237   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
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                                        Exhibit A
                                 No Plaintiff Profile Form
     Plaintiff           Case No.        Opposing Firm              Defendants
Spears, Lee           1:16-cv-00541 Branch Law Firm;         AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Spoto, Richard        1:15-cv-11546 Seeger Weiss LLP         AbbVie Defendants
Spurdis, Gregory      1:17-cv-04633 O'Leary, Shelton,        AbbVie Defendants
                                      Corrigan, Peterson,
                                      Dalton & Quillin
Stangel, Michael      1:16-cv-03206 Baird Brown Law          AbbVie Defendants
                      1:15-cv-10770 Firm
Starnes, Larry and    1:15-cv-03858   Pendley, Baudlin &     Endo Pharmaceuticals Inc.
Yvonne                                Coffin LLP
Stephens , Mitchell   1:16-cv-03301   Baird Brown Law        Endo Pharmaceuticals Inc.
                                      Firm                   Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Sterling, Alston      1:16-cv-11556   Padberg Corrigan &     AbbVie Defendants
(Deceased)                            Appelbaum
Stewart, Bobby        1:16-cv-03162   Baird Brown Law        AbbVie Defendants
                      1:15-cv-10770   Firm
Stewart, James A.     1:15-cv-04070   O'Mara & Padilla       AbbVie Defendants
Stice, David          1:14-cv-10323   Robinson Calcagnie,    AbbVie Defendants
(deceased)                            Inc.
Stills, Jake          1:16-cv-06058   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Stokes, Charles       1:16-cv-04966   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Stolba , Frank and    1:16-cv-08555   Goldberg & Osborne     Endo Pharmaceuticals Inc.
Dolores
Strempek, Douglas     1:16-cv-07406   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Strickland, Richard   1:14-cv-08888   Morris Bart, LLC       AbbVie Defendants
Stroemer, III,        1:16-cv-02993   The Yost Legal         AbbVie Defendants
George                                Group
Sullivan, David       1:17-cv-05189   Kevin M. Fitzgerald,   Actavis Defendants
                                      Fitzgerald Law
                                      Group, LLC
Sullivan, Terry       1:16-cv-03214   The Mulligan Law       AbbVie Defendants
                                      Firm
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                                       Exhibit A
                                No Plaintiff Profile Form
      Plaintiff         Case No.        Opposing Firm              Defendants
Surrell, Leonard     1:16-cv-06053 O'Leary, Shelton,        AbbVie Defendants
                                     Corrigan, Peterson,
                                     Dalton & Quillin
Swasey, Patrick      1:16-cv-00677 Branch Law Firm;         AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
Sykes, Dwane         1:16-cv-06060 Meyers & Flowers,        Auxilium Pharmaceuticals,
                                     LLC                    Inc.
                                                            GlaxoSmithKline LLC
Syracuse, Sr.,       1:16-cv-01447   Brent Coon &           AbbVie Defendants
Michael G.                           Associates
(Deceased)
Tallevast, John      1:16-cv-01772   Eisenberg,             AbbVie Defendants
                                     Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Tankerson-Braxton, 1:15-cv-02357     Heninger Garrison      AbbVie Defendants
KarenTankerson,                      Davis
Richard E.
(Deceased)
Tatum, Allen Roy   1:16-cv-03148     Baird Brown Law        AbbVie Defendants
                   1:15-cv-10770     Firm
Taylor, Corbett L.   1:16-cv-03123   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Taylor, Leon         1:14-cv-09375   Pittman, Dutton &      AbbVie Defendants
                                     Hellums
Taylor, Tammy        1:16-cv-03106   Baird Brown Law        AbbVie Defendants
Sherbert, Wilford    1:15-cv-10770   Firm
(Deceased)
Taylor, Walter       1:15-cv-05466   Branch Law Firm &      Actavis Defendants
                                     Meyers & Flowers,
                                     LLC
Tellez, Daniel       1:16-cv-01450   Brent Coon &           AbbVie Defendants
Louis                                Associates
Theros, Gus          1:15-cv-05406   Sill Law Group         Actavis Defendants
Thomas, Jeffrey      1:16-cv-00814   Branch Law Firm        Actavis Defendants
Thomas, Jerry        1:16-cv-06042   Branch Law Firm;       AbbVie Defendants
                                     Meyers & Flowers,
                                     LLC
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm               Defendants
Thomley, Charles     1:16-cv-00781 Meyers & Flowers,        AbbVie Defendants
Winfred                              LLC                    Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Thompson, John E.    1:16-cv-03146   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Thompson, Ryan       1:16-cv-07196   Devereaux, Stokes,     AbbVie Defendants
M.                                   Fernandex &
                                     Leonard; Dell and
                                     Dean PLLC
Thompson,            1:16-cv-07230   Justinian PLLC         AbbVie Defendants
Thaddeus A.
Thompson,            1:16-cv-03240   Baird Brown Law        Endo Pharmaceuticals Inc.
Wendell                              Firm                   Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Tidwell, Dennis R.   1:16-cv-03114   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Tode, Peter          1:15-cv-11517   Goldberg & Osborne     AbbVie Defendants
Tone , Wes and       1:17-cv-04847   Douglas & London,      Auxilium Pharmaceuticals,
Karen                                P.C.                   Inc.
Torres, John         1:16-cv-07901   Forman Law Offices,    AbbVie Defendants
                                     P.A.
Torres, Luis G.      1:15-cv-06625   O'Leary, Shelton,      AbbVie Defendants
                                     Corrigan, Peterson,
                                     Dalton & Quillin
Torres, Mike         1:16-cv-03199   Baird Brown Law        AbbVie Defendants
                     1:15-cv-10770   Firm
Towne, Jackson       1:14-cv-09363   Kaiser Gornick LLP     AbbVie Defendants
Toy, Martin          1:14-cv-08896   Provost Umphrey        AbbVie Defendants
                                     Law Firm
Traweek, James       1:15-cv-09576   Meyers & Flowers,      AbbVie Defendants
                                     LLC                    Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Tull, John         1:15-cv-06896     Seeger Weiss LLP       AbbVie Defendants
Turner, Donald Ray 1:16-cv-03259     Baird Brown Law        Endo Pharmaceuticals Inc.
                                     Firm                   Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm              Defendants
Tveintes, William    1:17-cv-03903 Bahe Cook Cantley &      AbbVie Defendants
(Deceased)                           Nefzger PLC
Unterseher, Keith    1:15-cv-05410 Sill Law Group,          AbbVie Defendants
                                     PLLC
Valle, Martin        1:16-cv-01000 Meyers & Flowers,        Endo Pharmaceuticals Inc.
                                     LLC                    Auxilium Pharmaceuticals,
                                                            Inc.
                                                            Actavis Defendants
Van Winkle, Milton 1:15-cv-11004     Robinson Calcagnie,    AbbVie Defendants
                                     Inc.
Vander Hoek,         1:15-cv-04006   Golomb & Honik,        AbbVie Defendants
James and Patricia                   P.C.                   Endo Pharmaceuticals Inc.
Varela, Anthony      1:16-cv-00271   Meyers & Flowers,      AbbVie Defendants
                                     LLC                    Endo Pharmaceuticals Inc.
                                                            Auxilium Pharmaceuticals,
                                                            Inc.
Varga, Ryan and      1:16-cv-07902   Forman Law Offices,    AbbVie Defendants
Auriceia                             P.A.                   Endo Pharmaceuticals Inc.
                                                            Auxilium Pharmaceuticals,
                                                            Inc.
                                                            GlaxoSmithKline LLC
Vaughan, Joe E.      1:16-cv-01694   Brent Coon &           AbbVie Defendants
                                     Associates
Vaughn, Jr., Bruce   1:17-cv-02334   Heard Robins Cloud     Actavis Defendants
                                     LLP
Verheyn, Albert      1:15-cv-09822   David J. Diamond,      Actavis Defendants
                                     Goldberg & Osborne
Vertes, Philip       1:16-cv-05428   Seeger Weiss LLP       Endo Pharmaceuticals Inc.
                                                            Auxilium Pharmaceuticals,
                                                            Inc.
Vestman, John        1:16-cv-06323   Eisenberg,             AbbVie Defendants
William                              Rothweiler, Winkler,
                                     Eisenberg & Jeck,
                                     P.C.
Vigue, Ronald        1:15-cv-10379   The Lawrence Firm,     AbbVie Defendants
                                     PSC
Villademoros,        1:16-cv-01318   Brent Coon &           AbbVie Defendants
Andrew                               Associates
Vlajnich, John       1:17-cv-00553   Forman Law Offices,    AbbVie Defendants
                                     P.A.
Von Braun , James    1:16-cv-02233   Douglas & London,      Endo Pharmaceuticals Inc.
and Laura                            P.C.
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                                       Exhibit A
                                No Plaintiff Profile Form
     Plaintiff          Case No.        Opposing Firm                Defendants
Vuletich, Randolph   1:15-cv-10032 Goldberg & Osborne         AbbVie Defendants
W.
Waddell, Joe F.      1:15-cv-09827     Goldberg & Osborne     AbbVie Defendants
Wade, Tina           1:16-cv-02487     Eisenberg,             AbbVie Defendants
Wade, Robbie Dale                      Rothweiler, Winkler,
(Deceased)                             Eisenberg & Jeck,
                                       P.C.
Waite, Daniel        1:16-cv-01593     Eisenberg,             AbbVie Defendants
                                       Rothweiler, Winkler,
                                       Eisenberg & Jeck,
                                       P.C.
Walk, Daniel         1:15-cv-09478     Goldberg & Osborne     AbbVie Defendants
Walker, Leroy and    1:16-cv-01749     Seeger Weiss LLP       Endo Pharmaceuticals Inc.
Cynthia P.
Wall, Robert         1:16-cv-00669     Meyers & Flowers,      Auxilium Pharmaceuticals,
                                       LLC                    Inc.
                                                              GlaxoSmithKline LLC
Wallace, Robert      1:17-cv-05515     O'Leary, Shelton,      AbbVie Defendants
                                       Corrigan, Peterson,
                                       Dalton & Quillin
Walter, Robert B     1:16-cv-01697     Brent Coon &           AbbVie Defendants
                                       Associates
Ware , Charlotte     1:16-cv-00849     Meyers & Flowers,      Auxilium Pharmaceuticals,
Ware, Individually                     LLC                    Inc.
and as personal      filed duplicate                          GlaxoSmithKline LLC
representative of    as    "1:16-cv-
the Estate of Joe    05533"
Ware
Washington, Carl     1:14-cv-08928     NastLaw, LLC;          AbbVie Defendants
                                       Oliver Law Group PC
Washington, Steven 1:16-cv-00570       Parker Waichman        AbbVie Defendants
                                       LLP                    Actavis Defendants
Watson, Clinton      1:15-cv-02835     Sill Law Group,        AbbVie Defendants
                                       PLLC
Weber, William       1:16-cv-00628     Branch Law Firm;       AbbVie Defendants
                                       Meyers & Flowers,
                                       LLC
Weimers, James       1:14-cv-09365     Stueve Siegel Hanson   Auxilium Pharmaceuticals,
                                       LLP                    Inc.
                                                              GlaxoSmithKline LLC
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm                Defendants
Wein, Stuart and    1:15-cv-05672 Cerasa Law Firm          AbbVie Defendants Endo
Susan                                                      Pharmaceuticals Inc.
                                                           Auxilium Pharmaceuticals,
                                                           Inc. GlaxoSmithKline LLC
Weintraub, Stuart   1:15-cv-08683   Eisenberg,             AbbVie Defendants
Robert                              Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Weiser, Robert      1:16-cv-02488   Eisenberg,             AbbVie Defendants
Mark                                Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Wells, Barbara;     1:14-cv-09496   Johnson Becker,        AbbVie Defendants
Wells, Farril                       PLLC
(deceased)
Wells, Thomas J.    1:16-cv-03244   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Welsh, Howard A.    1:17-cv-04226   Goldberg & Osborne     Actavis Defendants
Westrick, Esstil    1:15-cv-01376   Davis & Crump, P.C.    AbbVie Defendants
Wetsell, James      1:16-cv-07472   Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Weyuker, Matthew    1:16-cv-01843   Heard Robins Cloud     Endo Pharmaceuticals Inc.
Charles                             LLP                    Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
Whelan, Jeffrey     1:17-cv-03965   Eisenberg,             AbbVie Defendants
                                    Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Whisenhunt,         1:15-cv-05383   Sill Law Group,        AbbVie Defendants
Matthew                             PLLC
White, Gary         1:14-cv-01667   Morelli Ratner Law     AbbVie Defendants
                                    Firm
White, Ronald       1:16-cv-03236   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
White, Warren       1:16-cv-00112   Branch Law Firm;       AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
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                                      Exhibit A
                               No Plaintiff Profile Form
     Plaintiff         Case No.        Opposing Firm              Defendants
Whitear, Haven      1:15-cv-09908 The Levensten Law        AbbVie Defendants
Whitear, Donald                     Firm
(Deceased)
Whitehead , Jerry   1:16-cv-01709   MacDonald             Endo Pharmaceuticals Inc.
and Sandra                          Rothweiler Eisenberg, Auxilium Pharmaceuticals,
                                    LLP                   Inc.
                                                          GlaxoSmithKline LLC
Wilcher, Charles    1:14-cv-08450   Goldberg & Osborne AbbVie Defendants
Wilcoxon, Lester    1:15-cv-03052   Simmons Hanly         AbbVie Defendants
                                    Conroy LLC
Wilde, Gregory      1:14-cv-05458   Martzell & Bickford   AbbVie Defendants
Wildeboer, Marion   1:15-cv-02916   Golomb & Honik,       AbbVie Defendants
                                    P.C.
Wilkins, Jonathan   1:15-cv-00641   Seeger Weiss LLP      AbbVie Defendants
Willey, Thomas      1:16-cv-00409   Branch Law Firm;      AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Williams , Damon    1:15-cv-05385   Sill Law Group,       Auxilium Pharmaceuticals,
and Cheryl                          PLLC                  Inc.
                                                          GlaxoSmithKline LLC
Williams , Robert   1:17-cv-04099   Terrell Hogan         AbbVie Defendants
Christopher Jr. and                 Yegelwel, PA          Endo Pharmaceuticals Inc.
Helen C. Williams,
his wife
Williams , Thurman 1:15-cv-04773    The Cochran Firm-      Endo Pharmaceuticals Inc.
J. and Roberta                      Dothan, P.C.
Williams, David     1:16-cv-01764   Eisenberg,             AbbVie Defendants
Brent                               Rothweiler, Winkler,
                                    Eisenberg & Jeck,
                                    P.C.
Williams, James     1:16-cv-01274   Harris Penn Lowry      AbbVie Defendants Endo
Edward                              LLP                    Pharmaceuticals Inc.
                                                           Auxilium Pharmaceuticals,
                                                           Inc. GlaxoSmithKline LLC
                                                           Actavis Defendants

Williams, Kevin     1:17-cv-03906   Bahe Cook Cantley &    AbbVie Defendants
                                    Nefzger PLC            Endo Pharmaceuticals Inc.
                                                           Auxilium Pharmaceuticals,
                                                           Inc.
                                                           GlaxoSmithKline LLC
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                                        Exhibit A
                                 No Plaintiff Profile Form
      Plaintiff          Case No.        Opposing Firm              Defendants
Williams, Margaret    1:16-cv-00974 Branch Law Firm;         AbbVie Defendants
Johnson, Michael                      Meyers & Flowers,
(Deceased)                            LLC
Williams, Martie      1:16-cv-01701 Brent Coon &             AbbVie Defendants
                                      Associates
Williams, Wayne       1:16-cv-01759 Seeger Weiss LLP         AbbVie Defendants
Willis, Tyrone        1:17-cv-03907 Bahe Cook Cantley &      AbbVie Defendants
                                      Nefzger PLC
Wilson, Gilbert       1:16-cv-03180 Baird Brown Law          AbbVie Defendants
                      1:15-cv-10770 Firm
Wilson, John          1:16-cv-00464   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Wilson, Kirk          1:16-cv-03196   Baird Brown Law        Endo Pharmaceuticals Inc.
                                      Firm                   Auxilium Pharmaceuticals,
                                                             Inc.
                                                             GlaxoSmithKline LLC
Wilson, Robert D.     1:16-cv-01710   Brent Coon &           Auxilium Pharmaceuticals,
                                      Associates             Inc.
Wimberly, Clifford    1:16-cv-02924   Goldberg & Osborne     AbbVie Defendants
Wingler, Oran         1:15-cv-09477   Goldberg & Osborne     AbbVie Defendants
Wisdom, Nicholas      1:14-cv-10137   Locks Law Firm         AbbVie Defendants
Wolfe, Warren         1:14-cv-05447   Wiggins, Childs,       Auxilium Pharmaceuticals,
                                      Pantazis, Fisher and   Inc.
                                      Goldfarb, LLC
Woodward, Richard 1:16-cv-07866       Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Woolwine, David       1:16-cv-03267   Baird Brown Law        AbbVie Defendants
G.                    1:15-cv-10770   Firm
Worner, Harold        1:15-cv-02630   Branch Law Firm;       AbbVie Defendants
                                      Meyers & Flowers,
                                      LLC
Wright, Delphus V     1:15-cv-09483   Goldberg & Osborne     AbbVie Defendants
Wright, Ray           1:16-cv-04478   Davis & Crump, P.C.    AbbVie Defendants
Yarrington , Albert   1:16-cv-01707   Brent Coon &           Auxilium Pharmaceuticals,
T. and Jennifer                       Associates             Inc.
Yeager, Ronald        1:15-cv-10060   Padberg Corrigan &     AbbVie Defendants
                                      Appelbaum
Case: 1:14-cv-01748 Document #: 2434 Filed: 04/06/18 Page 45 of 47 PageID #:64553



                                      Exhibit A
                               No Plaintiff Profile Form
    Plaintiff          Case No.        Opposing Firm              Defendants
Yochum, Gerald      1:16-cv-00361 Branch Law Firm;         AbbVie Defendants
                                    Meyers & Flowers,
                                    LLC
Yost, Martin        1:15-cv-02119 Goldberg & Osborne       Actavis Defendants
Young, Stephen N.   1:15-cv-08252 Discepolo LLP            AbbVie Defendants
Young and Maggie                                           Auxilium Pharmaceuticals,
Rogers                                                     Inc.
Zaccaria, Anthony   1:16-cv-03192   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Zargarian, Zareh    1:16-cv-03219   Baird Brown Law        AbbVie Defendants
                    1:15-cv-10770   Firm
Ziaja, Paul         1:16-cv-00298   Gori, Julian &         Actavis Defendants
                                    Associates P.C.
Ziminsky, Leo Cree 1:14-cv-05625    Morgan Law Firm;       AbbVie Defendants
                                    Sawin Law Firm
Zydel , Walter      1:16-cv-03216   The Mulligan Law       AbbVie Defendants
                                    Firm                   Auxilium Pharmaceuticals,
                                                           Inc.
Case: 1:14-cv-01748 Document #: 2434 Filed: 04/06/18 Page 46 of 47 PageID #:64554



                                        Exhibit B
                                    No Medical Records
       Plaintiff             Case No.         Opposing Firm             Defendants
Alaniz, Artemio           1:15-cv-04561 Fears Nachawati Law Firm     AbbVie Defendants
Covey, Bobby              1:14-cv-02406 Douglas & London             AbbVie Defendants
Craven, Jenny             1:15-cv-09643 Provost Umphrey Law          AbbVie Defendants
Craven, Gary                            Firm
(Deceased)
DeForest, Jeffrey         1:14-cv-02405   Douglas & London           AbbVie Defendants
Dennis, Peter             1:17-cv-08503   Padberg Corrigan &         AbbVie Defendants
                                          Appelbaum
DeVries, John             1:16-cv-02224   Provost Umphrey Law        AbbVie Defendants
                                          Firm
Duncan, Jr., Richard E.   1:15-cv-07648   Ball & Bonholtzer          AbbVie Defendants
Durbin, George            1:15-cv-05213   Meyers & Flowers, LLC      AbbVie Defendants
Elder, Eric               1:14-cv-04538   Douglas & London           AbbVie Defendants
Eudy, Bruce               1:14-cv-07355   Douglas & London           AbbVie Defendants
Feinberg, David           1:15-cv-04750   Ball & Bonholtzer          AbbVie Defendants
Field, Gilbert            1:15-cv-10072   Padberg Corrigan &         AbbVie Defendants
                                          Appelbaum
Franklin, Charles         1:15-cv-11345   Meyers & Flowers, LLC      AbbVie Defendants
Gandy, Bruce              1:14-cv-04551   Douglas & London           AbbVie Defendants
Gee, William              1:14-cv-06454   Douglas & London           AbbVie Defendants
Guilbeau, Kurt            1:15-cv-09613   Provost Umphrey Law        AbbVie Defendants
                                          Firm
Hamby, Virgil             1:17-cv-03828   Bahe Cook Cantley &        AbbVie Defendants
                                          Nefzger, PLC
Honsberg, Harold          1:16-cv-00503   Meyers & Flowers, LLC      AbbVie Defendants
Jones, Chadwick D.        1:16-cv-01805   Aylstock Witkin Kreis &    AbbVie Defendants
                                          Overholtz
Joyner, Tommy             1:15-cv-10066   Padberg Corrigan &         AbbVie Defendants
                                          Appelbaum
Lewis, Stella             1:17-cv-03282   Douglas & London           AbbVie Defendants
Lewis, JD Sr.
(Deceased)
Martin, Edward            1:15-cv-04567   Fears Nachawati Law Firm   AbbVie Defendants
Mason, Kevin              1:14-cv-06656   Douglas & London           AbbVie Defendants
Mendez, Robert M.         1:16-cv-01393   Aylstock Witkin Kreis &    AbbVie Defendants
                                          Overholtz
Mercer, Anthony S.        1:16-cv-01569   Aylstock Witkin Kreis &    AbbVie Defendants
                                          Overholtz
Miller, Dwayne            1:15-cv-05348   Meyers & Flowers, LLC      AbbVie Defendants
Mitchell, David           18-cv-00296     Reyes Browne Reilley       AbbVie Defendants
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                                    Exhibit B
                                No Medical Records
       Plaintiff         Case No.         Opposing Firm             Defendants
Nolan, Tim            1:15-cv-07597 Ball & Bonholtzer            AbbVie Defendants
Pavel, Timothy L.     1:15-cv-06926 Aylstock Witkin Kreis &      AbbVie Defendants
                                    Overholtz
Perelman, David       1:16-cv-00686 Meyers & Flowers, LLC        AbbVie Defendants
Piccolo, Janet        1:15-cv-04570 Fears Nachawati Law Firm     AbbVie Defendants
Piccolo, Nicholas
(Deceased)
Price, Shannon        1:16-cv-00668   Robinson Calcagnie, Inc.   AbbVie Defendants
Muller, Carl
(Deceased)
Quinones, Jorge       1:14-cv-04551   Douglas & London           AbbVie Defendants
Sanders, Michael      1:14-cv-07029   Douglas & London           AbbVie Defendants
Spradlin, Randall     1:15-cv-03306   Ball & Bonholtzer          AbbVie Defendants
Tillman, William      1:16-cv-00706   JonesWard PLC              AbbVie Defendants
